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     Attorneys for Plaintiffs
 9
                                  UNITED STATES DISTRICT COURT
10                                 FOR THE DISTRICT OF NEVADA

11   ANDREW PERRONG and JAMES
     EVERETT SHELTON, individually and on               NO. 2:19-cv-00115-RFB-EJY
12   behalf of all others similarly situated,

13                          Plaintiffs,                 STIPULATION OF DISMISSAL OF
            v.                                          PLAINTIFFS’ CLAIMS AGAINST
14                                                      ENERGY GROUP CONSULTANTS,
     ENERGY GROUP CONSULTANTS, INC., a                  INC.
15   Kansas corporation, BAETYL GROUP LLC,
     a Texas limited liability company,
16
                       Defendants.
17   _______________________________________

18   AND ALL RELATED ACTIONS.

19

20          Pursuant to FRCP 41, Plaintiffs Andrew Perrong and James Everett Shelton (“Plaintiffs”)

21   and Defendant Energy Group Consultants, Inc. (“EGC”) (collectively referred to herein as the

22   “Parties”), hereby stipulate and agree to dismiss EGC from this action with prejudice, each party

23   to bear their own costs and fees.

24   ...

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     Case No. 2:19-cv-00115-RFB-EJY
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          Case 2:19-cv-00115-RFB-EJY Document 208 Filed 12/01/21 Page 2 of 3




 1         It is so STIPULATED.
 2
     DATED: November 30, 2021.              DATED: November 30, 2021.
 3
     PARONICH LAW, P.C.                     ALVERSON TAYLOR & SANDERS
 4

 5   By: /s/ Anthony I. Paronich            By: /s/ _Adam R. Knecht________

 6   Anthony I. Paronich (pro hac vice)     Adam R. Knecht, Esq.
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13
     Attorneys for Plaintiffs
14
                                            IT IS SO ORDERED:
15

16
           It is so ORDERED.
                                           __________________________
17                                         RICHARD F. BOULWARE, II
           Dated: November ____, 2021.     United States District Judge
18
                                          DATED this 1st day of December, 2021.
19

20                                           U.S. DISTRICT COURT JUDGE

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 1                                   CERTIFICATE OF SERVICE

 2
            I hereby certify that a true and correct copy of the foregoing has been served on this
 3
     November 30, 2021 on all counsel of record via the Court’s CM/ECF system.
 4

 5                                                     /s/ Anthony I. Paronich
                                                       Anthony I. Paronich
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     Case No. 2:19-cv-00115-RFB-EJY
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